                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                 CRIMINAL NO. 3:07cr00015
 UNITED STATES OF AMERICA,                    )
                                              )
        vs.                                   )
                                              )                      ORDER
 SCOTT HERMAN SCHINK,                         )
                                              )
                Defendant.                    )
                                              )

       THIS MATTER is before the Court on Defendant’s Motion for Reconsideration of Detention
Order (Doc. No. 67), filed July 20, 2007. On May 5, 2007, Defendant entered into a guilty plea
whereby he pleaded guilty to a violation of 21 U.S.C. § 841(a)(1), which carries a maximum
sentence of life imprisonment. (Doc. No. 51). This guilty plea was accepted by the Honorable
Magistrate Judge Carl Horn III on May 14, 2007. (Doc. No. 54). Under the Bail Reform Act of
1984, Defendant must be detained because he has been found guilty of an “offense for which a
maximum term of imprisonment of ten years or more is prescribed in the Controlled Substances Act
(21 U.S.C. § 801 et. seq)” and is awaiting imposition of a sentence. See 18 U.S.C. § 3143(a)(2); 18
U.S.C. § 3142(f)(1)(c); cf. US v. Moffitt, 2006 WL 3240752 (W.D.N.C., November 7, 2006)
(holding that a guilty plea that is accepted by a magistrate judge qualifies as being "found guilty"
under the terms of § 3143). Accordingly, Defendant’s request is DENIED
       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Reconsideration of Detention
Order (Doc. No. 67) is DENIED.
                                                  Signed: November 6, 2007




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